Case 2:18-cv-02242-JHS Document 58 Filed 05/13/19 Page 1 of 1
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May 13, 2019

Honorable Joel H. Slomsky
James A. Byrn U.S. Courthouse
601 Market Street

Room 13614

Philadelphia, PA 19106-1748

Via e-file only

RE: Gregory Nelson v. Dollar Tree, Inc.
US District Court, No. 2:18-CV-02242

Dear Judge Slomsky:

Please be advised that the above captioned matter has been amicably settled amongst the
parties. Accordingly, the trial scheduled for August 5, 2019, and all court events should be
cancelled.

Very truly yours, ™ ?

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Post & Schell, P.C.

Via e-file only

 
